Case 2:20-cv-02678-AB-FFM
          Case MDL No. 2814 Document
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    PULLMAN v. FORD MOTOR COMPAY                                                         MAR 23 2020
                               UNITED STATES JUDICIAL PANEL
                                            on                                                 RS

                                MULTIDISTRICT LITIGATION



  IN RE: FORD MOTOR CO. DPS6 POWERSHIFT
  TRANSMISSION PRODUCTS LIABILITY
  LITIGATION                                                                            MDL No. 2814
                                                                             2:20-cv-02678-AB-FFMx

                                   (SEE ATTACHED SCHEDULE)



                         CONDITIONAL TRANSFER ORDER (CTO í42)



 On February 2, 2018, the Panel transferred 75 civil action(s) to the United States District Court for
 the Central District of California for coordinated or consolidated pretrial proceedings pursuant to 28
 U.S.C. § 1407. See 289 F.Supp.3d 1350 (J.P.M.L. 2018). Since that time, 437 additional action(s)
 have been transferred to the Central District of California. With the consent of that court, all such
 actions have been assigned to the Honorable Andre Birotte, Jr.

 It appears that the action(s) on this conditional transfer order involve questions of fact that are
 common to the actions previously transferred to the Central District of California and assigned to
 Judge Birotte.

 Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
 Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
 Central District of California for the reasons stated in the order of February 2, 2018, and, with the
 consent of that court, assigned to the Honorable Andre Birotte, Jr.

 This order does not become effective until it is filed in the Office of the Clerk of the United States
 District Court for the Central District of California. The transmittal of this order to said Clerk shall
 be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
 Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                        FOR THE PANEL:
                             Mar 16, 2020



                                                        John W. Nichols
                                                        Clerk of the Panel
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  IN RE: FORD MOTOR CO. DPS6 POWERSHIFT
  TRANSMISSION PRODUCTS LIABILITY
  LITIGATION                                                                         MDL No. 2814



                      SCHEDULE CTOí42 í TAGíALONG ACTIONS



    DIST       DIV.       C.A.NO.        CASE CAPTION


  ALABAMA MIDDLE

    ALM          2       19í00120        Pullum v. Ford Motor Company




                                                                      3/23/2020
                                       I hereby attest and certify on _________
                                       that the foregoing document is full, true
                                       and correct copy of the original on file in
                                       my office, and in my legal custody.

                                       CLERK U.S. DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                           R. Smith
                                       DEPUTY CLERK
